         Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CYNTHIA RUTHRAUFF,                         )
individually and on behalf of all others   )
similarly situated,                        )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )
                                           ) CASE NO. 1:18-cv-00704-AT
LUMINESS DIRECT, LLC, a Texas              )
limited liability company,                 )
                                           )
      Defendant and Third-Party            )
      Plaintiff,                           )
                                           )
v.                                         )
                                           )
CRM TEXT SOLUTIONS, INC., a                )
California corporation,                    )
                                           )
      Third-Party Defendant                )

            PLAINTIFF’S RESPONSE IN OPPOSITION TO
         DEFENDANT LUMINESS DIRECT’S MOTION TO STAY

      Defendant Luminess Direct, LLC (“Defendant” or “Luminess”) has sought

to compel arbitration in this case for over a year. In its December 2018 Order

denying Luminess’ motion to compel arbitration, this Court analyzed Luminess’

flimsy “evidence” that Plaintiff Cynthia Ruthrauff (“Plaintiff” or ‘Ruthrauff”)

supposedly entered into an arbitration agreement with Luminess and correctly

found that Luminess’ “evidentiary submissions fail to raise a genuine issue of



                                           1
         Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 2 of 9




material fact as to whether a binding contract, of which the arbitration clause was a

part, was formed.” (Dkt. 21 at 20) In the December 2018 Order, the Court—citing

the Eleventh Circuit’s Bazmore opinion—also noted that Luminess is “not entitled

to a second bite at the apple.” (Id.)

      Luminess took a second bite, however, and filed a Motion for

Reconsideration, which the Court denied on May 31, 2019. (Dkts. 26, 34.) Now,

Luminess seeks a third bite of the apple by appealing the issue to the Eleventh

Circuit and asks this Court to stay the case pending that appeal. (Dkt. 43.) The

Motion to Stay should be denied. As explained by the Court twice, there is no basis

for concluding that Plaintiff entered into an agreement to arbitrate with Luminess

and its appeal is therefore frivolous. Staying the case pending Luminess’ meritless

appeal would do nothing but delay the case further and prejudice Plaintiff. The

case was already stayed from January 9, 2019 through May 31, 2019. Simply put,

this case needs to get moving beyond Luminess’ baseless assertions regarding

arbitration.

I.    PROCEDURAL HISTORY

      Plaintiff filed this alleged class action against Luminess on February 16,

2018. (Dkt. 1.) On March 27, 2018, Luminess filed its motion to compel

arbitration, styled as a Motion to Dismiss. (Dkt. 10.) On December 6, 2018, the

Court denied Luminess’ Motion. (Dkt. 21.) Luminess then Answered the



                                          2
           Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 3 of 9




Complaint and filed a third-party complaint against CRM Text Solutions, Inc.

(Dkts. 24, 25.)

      On January 3, 2019, Luminess moved to reconsider the denial of its Motion

to Dismiss and the Parties filed their Joint Preliminary Report and Discovery Plan

on January 4, 2019. (Dkts. 26, 27.) Based on the motion to reconsider and the

third-party complaint, the Court stayed all discovery in this case on January 9,

2019. (Dkt. 29.) The Parties fully-briefed the Motion for Reconsideration, and the

Court denied the Motion on May 31, 2019. (Dkt. 34.) The Court’s May 31, 2019

Order also lifted the stay. (Id.)

      Subsequently, the Parties filed an updated Joint Preliminary Report and

Discovery Plan (dkt. 10), and the Court entered a Scheduling Order on June 11,

2019 (dkt. 38). On June 21, 2019, Plaintiff served her first set of written discovery

requests. A week later, Luminess filed its Notice of Appeal and the instant Motion

to Stay. (Dkts. 41, 43.)

II.   ARGUMENT

      Luminess’ Motion to Stay seeks a stay of this case pending the outcome of

its appeal of the Orders denying its Motion to Dismiss and its Motion for

Reconsideration. Luminess’ Motion to Stay should be denied because the appeal is

frivolous and a stay would serve no purpose other than to further delay this case.

      A.      Luminess’ Appeal Is Frivolous.



                                          3
            Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 4 of 9




          “When a litigant files a motion to stay litigation in the district court pending

an appeal from the denial of a motion to compel arbitration, the district court

should stay the litigation so long as the appeal is non-frivolous.” Blinco v. Green

Tree Servicing, LLC, 366 F.3d 1249, 1253 (11th Cir. 2004) “Although the term

frivolity is not easily defined, it is generally recognized that an appeal is frivolous

if it is obviously without merit and is prosecuted for delay, harassment, or other

improper purposes.” Flagg v. First Premier Bank, No. 1:15-CV-324-MHC, 2015

WL 13649829, at *1 (N.D. Ga. Oct. 23, 2015) (citation omitted); see also Connors

& Co. v. McKinley Capital Mgmt., Inc., No. 1:08-CV-2744-BBM, 2009 WL

10671567, at *2 (N.D. Ga. Aug. 28, 2009) (an appeal is frivolous if it is “brought

in the face of binding precedent”); see also Pieper v. American Arbitration Ass'n.

Inc., 336 F.3d 458, 465 (6th Cir. 2003) (concluding that an appeal was not

frivolous where the central issue was one of first impression).

          This case does not present a question of first impression. Rather, the issues

presented involve basic principles of contract law. As the Eleventh Circuit has

made clear, district courts should apply a “summary judgment-like standard”.

Bazmore, 827 F.3d at 1333. As this Court reiterated, “if the party seeking to

enforce an arbitration agreement fails to carry its burden during this ‘summary

judgment-like’ inquiry, it is not afforded a second opportunity to do so.” (Dkt. 21

at 10.)



                                              4
         Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 5 of 9




      As this Court observed, Luminess’ “evidence . . .amounts to only a self

serving declaration from Luminess’ President and CEO, a packing list and the full

terms and conditions that were in force as of March 2018 (almost two years after

Plaintiff’s initial purchase)” and as a result Luminess “has brought a proverbial

knife to a gunfight.” (Dkt. 21 at 15.) As has been explained to Luminess by the

Court twice, this is wholly inadequate to meet its burden of establishing that an

enforceable contract exists. Thus, its appeal is frivolous.

      Indeed, as this Court observed,

      Why Defendant has chosen to rely almost entirely on a singular
      Declaration in order to carry its burden is unclear. However, such
      reliance is fatal to its motion since neither the quality nor the quantum
      of evidence, as presented by Defendant on this record, is sufficient to
      establish, by a preponderance of the evidence, that Plaintiff and
      Defendant formed a binding and enforceable contract. . . .In short, in
      light of the present record, to find that Plaintiff was bound by an
      arbitration clause contained in terms and conditions which she
      “never signed, never s[aw] and never heard of . . . is nothing short
      of ludicrous.” De Beers Centenary AG v. Hasson, 751 F. Supp. 2d
      1297, 1302 (S.D. Fl. 2010).

(Dkt. 21 at 19) (emphasis added). The Eleventh Circuit will review the same

record. See McIntyre v. Delhaize Am., Inc., 403 F. App'x 448, 451 (11th Cir. 2010)

(“McIntyre wants to introduce new evidence on appeal, including a memo, the

contents of an email, and other facts. McIntyre has not established that this is one




                                           5
           Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 6 of 9




of those rare cases in which the record should be supplemented with evidence that

was not presented to the district court . . . we will not consider any evidence

outside that contained in the record on appeal.”).

      In sum, this case should not be stayed while Luminess takes a third bite of

the apple and asks the Eleventh Circuit to reach a conclusion that this Court found

to be “ludicrous.” Luminess’ appeal is frivolous, and its motion should be denied.

      B.      A Second Stay Of This Action Would Unnecessarily And
              Prejudicially Delay This Case.

      This case was filed seventeen (17) months ago and is still trapped in the

early stages. Plaintiff is eager to push the case; she served discovery requests

within ten (10) days of the Scheduling Order being entered. A second stay of the

case would unfairly prejudice Plaintiff. See Drayton v. Toyota Motor Credit Corp.,

No. 3:16-CV-46-J-39JBT, 2017 WL 10841496, at *1 (M.D. Fla. July 31, 2017)

(“Requiring Plaintiff to endure an additional and an indeterminate delay to

prosecute this case prejudices not only Plaintiff, but the Court as well.”); see also

Gillespie v. United States Steel Corp. 379 U.S. 148, 153 (1964) (discussing the

“danger of denying justice by delay”).

      Witnesses’ memories fade over time and data becomes more difficult to

adequately preserve, produce, or replicate in full. See Cabiness v. Educ. Fin.

Solutions, LLC, No. 16-cv-01109-JST, 2017 WL 167678, at *3 (N.D. Cal. Jan. 17,

2017) (“[P]assage of time will make it more difficult to reach the class members

                                          6
          Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 7 of 9




and will increase the likelihood that relevant evidence will dissipate”); see also

Pagtalunan v. Galaza, 291 F.3d 639, 643 (9th Cir. 2002) (“Unnecessary delay

inherently increases the risk that witnesses’ memories will fade and evidence will

become stale.”) (citing Sibron v. New York, 392 U.S. 40 (1968); see also Roule v.

Petraeus, No. C 10-04632 LB, 2012 WL 2367873, at *5 (N.D. Cal. June 21, 2012)

(“Roule makes the persuasive common-sense argument that memories fade and

witnesses become unavailable over time. Given the glacial pace of the case so far,

further delays likely would harm Roule.”).

        Simply put, any further delay in this case benefits Defendant at Plaintiff’s

expense. Thus, Defendant’s Motion to Stay should be denied for this reason as

well.

III.    CONCLUSION

        The Court should not stay the case while Luminess takes a third bite at the

apple. The “evidence” provided by Luminess was completely inadequate to prove

the existence of an enforceable arbitration agreement. This was true when the

Court reviewed Luminess’ Motion to Dismiss, it was true when the Court reviewed

Luminess’ Motion for Reconsideration, and it will be true when the appellate court

reviews the record on appeal. Luminess’ appeal is frivolous, and the Court should

not allow Luminess to delay the case further.

                                         Respectfully submitted,



                                           7
        Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 8 of 9




Dated: July 12, 2019               CYNTHIA RUTHRAUFF, individually
                                   and on behalf of all others similarly situated,


                                   By: /s/ Patrick H. Peluso
                                         One of Plaintiff’s Attorneys

                                   Jennifer Auer Jordan
                                   jordan@ssjwlaw.com
                                   Georgia Bar Number: 027857
                                   Shamp Speed Jordan Woodward LLC
                                   1718 Peachtree Street NW, Suite 660
                                   Atlanta, Georgia 30309
                                   Telephone: (404) 893-9400

                                   Steven L. Woodrow*
                                   swoodrow@woodrowpeluso.com
                                   Patrick H. Peluso*
                                   ppeluso@woodrowpeluso.com
                                   Taylor T. Smith*
                                   tsmith@woodrowpeluso.com
                                   Woodrow & Peluso, LLC
                                   3900 East Mexico Ave., Suite 300
                                   Denver, Colorado 80210
                                   Telephone: (720) 213-0675
                                   Facsimile: (303) 927-0809

                                   Attorneys for Plaintiff and the Classes

                                   * Pro Hac Vice




                                     8
         Case 1:18-cv-00704-AT Document 46 Filed 07/12/19 Page 9 of 9




                         CERTIFICATE OF SERVICE

       I, Patrick H. Peluso, an attorney, hereby certify that on July 12, 2019, I
caused the above and foregoing papers to be served on all counsel of record by
filing such papers with the Court using the Court’s electronic filing system.



                                   /s/ Patrick H. Peluso




                                          9
